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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                    :
JAMES GARDNER,                                      :
                                                    :   Case No. ______________
                       Plaintiff,                   :
                                                    :
        v.                                          :   COMPLAINT FOR VIOLATIONS OF
                                                    :   THE FEDERAL SECURITIES LAWS
TETRAPHASE PHARMACEUTICALS,                         :
INC., L. PATRICK GAGE, GAREN                        :
BOHLIN, STEVEN BOYD, JEFFREY A.                     :   JURY TRIAL DEMANDED
CHODAKEWITZ, JOHN G. FREUND,                        :
GERRI HENWOOD, GUY MACDONALD,                       :
KEITH MAHER, and NANCY J.                           :
WYSENSKI,                                           :
                                                    :
                       Defendants.                  :
                                                    :
                                                    :


       Plaintiff James Gardner (“Plaintiff”), by and through his undersigned counsel, for his

complaint against defendants, alleges upon personal knowledge with respect to himself, and upon

information and belief based upon, inter alia, the investigation of counsel as to all other allegations

herein, as follows:

                        NATURE AND SUMMARY OF THE ACTION

       1.       This action is brought by Plaintiff against Tetraphase Pharmaceuticals, Inc.

(“Tetraphase” or the “Company”) and the members of Tetraphase’s Board of Directors (the

“Board” or the “Individual Defendants”) for their violations of Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S.

Securities and Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9, and to enjoin

the vote on a proposed transaction, pursuant to which Tetraphase will be acquired by AcelRx
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Pharmaceuticals, Inc. (“AcelRx”) through AcelRx’s indirect wholly-owned subsidiary

Consolidation Merger Sub, Inc. (“Merger Sub”) (the “Proposed Transaction”).

       2.      On March 16, 2020, Tetraphase issued a press release announcing it had entered

into an Agreement and Plan of Merger dated March 15, 2020 (the “Merger Agreement”) pursuant

to which AcelRx will acquire Tetraphase. Under the terms of the Merger Agreement each

Tetraphase stockholder will receive, for each share of Tetraphase stock they own, (i) 0.6303 shares

of AcelRx common stock (the “Exchange Ratio”) 1, and (ii) one contingent value right per share

(a “CVR”) representing the right to receive up to $12.5 million in the aggregate, subject to the

achievement of certain net sales milestones 2 (the “Merger Consideration”).

       3.      On April 24, 2020, defendants filed a Definitive Proxy Statement on Schedule 14A

(the “Proxy Statement”) with the SEC. The Proxy Statement, which recommends that Tetraphase

stockholders vote in favor of the Proposed Transaction, omits or misrepresents material

information concerning, among other things: (i) Company and AcelRx management’s financial

projections and the data and inputs underlying the financial valuation analyses that support the

fairness opinion provided by the Board’s financial advisor, Janney Montgomery Scott LLC

(“Janney”); (ii) the background of the Proposed Transaction; and (iii) Tetraphase’s financial




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  If the Company’s closing net cash (“Closing Net Cash”) is less than $5.0 million, the Exchange
Ratio shall be adjusted to the ratio determined as follows: (a) (i) $20.0 million, minus (ii) the dollar
amount by which the Closing Net Cash is less than $5.0 million, minus (iii) $10,265,292, divided
by (b) (i) 10,800,166 shares of Tetraphase common stock divided by (ii) $1.43.
2 The CVRs represent the right to receive payments of up to $12.5 million in the aggregate, payable
in cash of AcelRx stock at AcelRx’s election, if the following milestones are achieved: (i) $2.5
million upon the achievement of annual net sales of XERAVA in the U.S. of at least $20.0 million
during the calendar year ending on December 31, 2021; (ii) $4.5 million upon the achievement of
annual net sales of XERAVA in the U.S. of at least $35.0 million during any calendar year ending
on or before December 31, 2024; and/or (iii) $5.5 million upon the achievement of annual net sales
of XERAVA in the U.S. of at least $55.0 million during any calendar year ending on or before
December 31, 2024.



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advisors’ and Company insiders’ potential conflicts of interest. The failure to adequately disclose

such material information constitutes a violation of Sections 14(a) and 20(a) of the Exchange Act

as Tetraphase stockholders need such information in order to make a fully informed decision

whether to vote in favor of the Proposed Transaction or seek appraisal.

        4.       In short, unless remedied, Tetraphase’s public stockholders will be forced to make

a voting or appraisal decision on the Proposed Transaction without full disclosure of all material

information concerning the Proposed Transaction being provided to them. Plaintiff seeks to

enjoin the stockholder vote on the Proposed Transaction unless and until such Exchange Act

violations are cured.

                                  JURISDICTION AND VENUE

        5.       This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to

Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

        6.       This Court has jurisdiction over the defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

        7.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants

are found or are inhabitants or transact business in this District. Moreover, Tetraphase common

stock trades on The Nasdaq Global Select Market, which is headquartered in this District,

rendering venue in this District appropriate.

                                           THE PARTIES




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        8.      Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of

Tetraphase.

        9.      Defendant Tetraphase is a Delaware corporation, with its principal executive

offices located at 480 Arsenal Way, Watertown, Massachusetts 02472. The Company is a

biopharmaceutical company using its proprietary chemistry technology to create novel

tetracyclines for serious and life-threatening conditions, including infections caused by many of

the multidrug-resistant bacteria highlighted as urgent public health threats by the World Health

Organization and the Centers for Disease Control and Prevention. Tetraphase’s shares trade on

The Nasdaq Global Select Market under the ticker symbol “TTPH.”

        10.     Defendant L. Patrick Gage (“Gage”) has served as Chairman of the Board and a

director of the Company since December 2011.

        11.     Defendant Garen Bohlin (“Bohlin”) has been a director of the Company since July

2010.

        12.     Defendant Steven Boyd (“Boyd”) has been a director of the Company since January

2020. Defendant Boyd has served as the chief investment officer of Armistice Capital, LLC

(“Armistice”), the Company’s largest stockholder, since 2012.

        13.     Defendant Jeffrey A. Chodakewitz (“Chodakewitz”) has been a director of the

Company since June 2014.

        14.     Defendant John G. Freund (“Freund”) has been a director of the Company since

October 2012.

        15.     Defendant Gerri Henwood (“Henwood”) has been a director of the Company since

April 2015.




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       16.    Defendant Guy Macdonald (“Macdonald”) has been a director of the Company

since January 2008. Defendant Macdonald previously served as the Company’s President and

Chief Executive Officer (“CEO”) from January 2008 until August 2019.

       17.    Defendant Keith Maher (“Maher”) has been a director of the Company since

January 2020. Defendant Maher has served as a managing director at Armistice since 2019.

       18.    Defendant Nancy J. Wysenski (“Wysenski”) has been a director of the Company

since March 2014.

       19.    Defendants identified in paragraphs 10-18 are referred to herein as the “Board” or

the “Individual Defendants.”

                               OTHER RELEVANT ENTITIES

       20.    AcelRx is a is a Delaware corporation, with its principal executive offices located

at 351 Galveston Drive, Redwood City, California 94063. AcelRx is a specialty pharmaceutical

company focused on the development and commercialization of innovative therapies for use in

medically supervised settings. It operates both in the United States and abroad with a product

portfolio that includes DSUVIA, DZUVEO, and Zalviso. AcelRx’s shares trade on The Nasdaq

Global Select Market under the ticker symbol “ACRX.”

       21.    Merger Sub is a Delaware corporation and an indirect wholly-owned subsidiary of

AcelRx.

                               SUBSTANTIVE ALLEGATIONS

Background of the Company

       22.    Tetraphase is a biopharmaceutical company that uses its proprietary chemistry

technology to create novel tetracyclines for serious and life-threatening conditions, including

infections caused by many of the multidrug-resistant bacteria highlighted as urgent public health




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threats by the World Health Organization and the Centers for Disease Control and Prevention. The

Company has created more than 3,000 novel tetracycline compounds using its proprietary

technology platform. Tetraphase’s lead product XERAVA is approved for the treatment of

complicated intra-abdominal infections by the U.S. Food and Drug Administration and the

European Medicines Agency. The Company’s pipeline also includes antibiotics TP-271 and TP-

6076, which are Phase 2 ready, and TP-2846, which is in preclinical testing for acute myeloid

leukemia

        23.     On March 12, 2020, the Company reported its fourth quarter and full year 2019

financial results. Fourth quarter 2019 net loss totaled $11.4 million, or $2.75 per share, compared

to a net loss of $21.5 million, or $8.00 per share, for the fourth quarter of 2018, driven by both

increased product revenues and lower operating expenses. For the year ended December 31, 2019,

Tetraphase reported a net loss of $70.1 million, or $22.85 per share, compared to a net loss of

$72.2 million, or $27.48 per share, for the same period in 2018. The Company generated strong

fourth quarter sales growth for its product XERAVA, for which carton sales grew over 45%

compared with the third quarter of 2019. The Company’s CEO Larry Edwards commented on the

results, stating:

        We made significant progress throughout 2019, ending the year with $3.6 million
        in XERAVA net sales for the full year and a quarter-to-quarter net revenue increase
        in the fourth quarter of 2019 of 49.3%. Our sales consist solely of actual use and
        not stocking retail or other channels. We believe XERAVA is a critically important
        new addition to the hospital antibiotic armamentarium, and we remain committed
        to increasing formulary uptake and reaching all of our targeted accounts. The
        reorganization efforts we undertook in 2019 to create a streamlined organization
        singularly focused on the commercialization of XERAVA, including the
        elimination of our research and development function, are central to the success of
        our mission. With two recently completed equity offerings in November 2019 and
        January 2020 adding to our balance sheet, we are now in a stronger financial
        position to execute on our goals.

The Proposed Transaction




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       24.     On March 16, 2020, Tetraphase issued a press release announcing the Proposed

Transaction, which states, in relevant part:

       WATERTOWN, Mass.-- Tetraphase Pharmaceuticals, Inc. (Nasdaq: TTPH), a
       biopharmaceutical company focused on commercializing its novel tetracycline
       XERAVA to treat serious and life-threatening infections, today announced the
       execution of a definitive merger agreement pursuant to which AcelRx
       Pharmaceuticals (Nasdaq: ACRX) would acquire Tetraphase in a stock for stock
       transaction. Under the terms of the agreement, Tetraphase stockholders will
       receive, for each share of Tetraphase common stock, 0.6303 of a share of AcelRx
       common stock, valued at approximately $14.4 million as of the close of trading on
       March 13, 2020, and one contingent value right (CVR), which would entitle the
       holders to receive aggregate payments of up to $12.5 million for the achievement
       of future XERAVA™ net sales milestones starting in 2021. The transaction was
       unanimously approved by both the AcelRx and Tetraphase boards of directors and
       is expected to close in the second quarter of 2020. Select Tetraphase stockholders
       and warrant holders, including Armistice Capital, LLC, holding in the aggregate
       approximately 31% of Tetraphase’ss outstanding common stock, have signed
       voting agreements in favor of the transaction.

       Concurrently with signing the merger agreement, Tetraphase and AcelRx entered
       into a co-promotion agreement to market and promote XERAVA™ for the
       treatment of complicated intra-abdominal infections (cIAI) and DSUVIA® for the
       treatment of acute pain in medically supervised settings. The co-promotion
       agreement will allow the AcelRx and Tetraphase teams to benefit immediately from
       the promotion of multiple products, leverage each company’s customer
       relationships, and create efficiencies among commercial teams. The combined sales
       team will cover in excess of 70% of each company’s originally targeted hospitals.

       “This transaction is an important move forward for Tetraphase and more
       importantly, for XERAVA and the patients who need this treatment,” said Larry
       Edwards, President and Chief Executive Officer of Tetraphase. “We are excited to
       collaborate with AcelRx, a partner whose strategic goals complement our own. We
       continue to believe that XERAVA is a key addition to the hospital anti-infective
       armamentarium, and believe that together with AcelRx we will be able to more
       effectively bring new treatments to patients in healthcare institutions.”

       “We are excited to have reached agreement with Tetraphase, a company with a
       well-established U.S. salesforce and a high-growth hospital product that
       complements AcelRx’s commercial strategy,” said Vince Angotti, Chief Executive
       Officer of AcelRx. “This transaction highlights our focus on efficiently
       commercializing DSUVIA with a salesforce promoting multiple products and is the
       first step in our plan to create a growth platform to further consolidate hospital-
       focused pharmaceutical companies and products. We look forward to integrating
       XERAVA and the existing Tetraphase commercial infrastructure with our own as




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       we strengthen our position on promoting innovative products to healthcare
       institutions allowing patients access to new and improved treatments.”

       Based on the closing price of AcelRx stock on March 13, 2020, the stock
       consideration to be received by Tetraphase equityholders is valued at
       approximately $14.4 million, with approximately $7.4 million of this amount
       allocated to the Company’s outstanding common stock warrants. In the merger,
       Tetraphase stockholders would also be entitled to receive, for each share of
       Tetraphase common stock, one non-tradeable CVR, the holders of which will be
       entitled to receive payments of up to an additional $12.5 million in the aggregate
       upon the achievement of net sales of XERAVA™ in the United States of at least
       (i) $20 million during 2021, (ii) $35 million during any year ending on or before
       December 31, 2024 and (iii) $55 million during any year ending on or before
       December 31, 2024. The total cost synergy expectation from the combined
       company exceeds 90% of the Tetraphase operating expenses and are expected to
       be fully realized in 2021.

       Closing of the transaction is subject to specified closing conditions, including
       Tetraphase having a minimum amount of net cash as of the closing and approval
       by Tetraphase stockholders. Upon the closing of the transaction, Tetraphase will
       become a privately held company and shares of Tetraphase’s common stock will
       no longer be listed on any public market. Subject to certain limited exceptions, the
       CVRs will be non-transferable.

Insiders’ Interests in the Proposed Transaction

       25.     Tetraphase insiders are the primary beneficiaries of the Proposed Transaction, not

the Company’s public stockholders. The Board and the Company’s executive officers are

conflicted because they will have secured unique benefits for themselves from the Proposed

Transaction not available to Plaintiff and the public stockholders of Tetraphase.

       26.     Notably, the Proposed Transaction will deliver significant returns to certain

Company insiders in connection with their Tetraphase stock warrants. For example, defendants

Maher and Boyd are both affiliated with Armistice, which, upon the closing of the Proposed

Transaction, will receive consideration in exchange for its Tetraphase warrants as follows: (i) each

outstanding warrant issued by Tetraphase in November 2019 will be converted into the right to

receive 0.8813 of a share of AcelRx common stock for each share of Tetraphase common stock




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underlying such warrant, (ii) each outstanding warrant issued by Tetraphase in January 2020 will

be converted into the right to receive 0.9087 of a share of AcelRx common stock for each share of

Tetraphase common stock underlying such warrant, and (iii) each outstanding pre-funded warrant

will be converted into the right to receive the product of (a) in the case of pre-funded warrants

issued by Tetraphase in November 2019, 98.89052%, and in the case of pre-funded warrants issued

by Tetraphase in January 2020, 99.88906%, and (b) each element of the Merger Consideration, for

each share of Tetraphase common stock underlying such warrant.

       27.     Moreover, if they are terminated in connection with the Proposed Transaction, the

Company’s named executive officers stand to receive substantial cash payments as set forth in the

following table:




The Proxy Statement Contains Material Misstatements or Omissions

       28.     Defendants filed a materially incomplete and misleading Proxy Statement with the

SEC and disseminated it to Tetraphase’s stockholders. The Proxy Statement misrepresents or

omits material information that is necessary for the Company’s stockholders to make an informed

decision whether to vote in favor of the Proposed Transaction or seek appraisal.

       29.     Specifically, as set forth below, the Proxy Statement fails to provide Company

stockholders with material information or provides them with materially misleading information

concerning: (i) Company and AcelRx management’s financial projections and the data and inputs

underlying the financial valuation analyses that support the fairness opinion provided by the

Board’s financial advisor, Janney; (ii) the background of the Proposed Transaction; and (iii)

Tetraphase’s financial advisors’ and Company insiders’ potential conflicts of interest.




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Material Omissions Concerning the Financial Projections and Janney’s Financial Analyses

       30.        The Proxy Statement omits material information regarding Company and AcelRx

management’s financial projections for Tetraphase, AcelRx and the combined pro forma company.

       31.        For example, with respect to each of the Tetraphase Base Projections, Tetraphase

Upside Projections, AcelRx Base Projections and Combined Pro Forma Projections, the Proxy

Statement fails to disclose all line items underlying unlevered free cash flow (“UFCF”), including:

(i) depreciation; (ii) other non-cash adjustments; (iii) capital expenditures; and (iv) change in

working capital. The Proxy Statement further fails to disclose the potential impact of net operating

losses, which was excluded from the respective UFCF calculations, as well as stock-based

compensation expense which was not treated as a cash expense.

       32.        The Proxy Statement also fails to disclose material information regarding Janney’s

financial analyses.

       33.        The Proxy Statement describes Janney’s fairness opinion and the various valuation

analyses it performed in support of its opinion. However, the description of Janney’s fairness

opinion and analyses fails to include key inputs and assumptions underlying these analyses.

Without this information, as described below, Tetraphase’s public stockholders are unable to fully

understand these analyses and, thus, are unable to determine what weight, if any, to place on

Janney’s fairness opinion in determining whether to vote in favor of the Proposed Transaction or

seek appraisal.

       34.        With respect to Janney’s Selected Precedent Transactions Analysis and Selected

Public Companies Analysis, the Proxy Statement fails to disclose the individual multiples and

financial metrics for each of the transactions and companies analyzed by Janney.

       35.        With respect to Janney’s Standalone Discounted Cash Flow Analysis of

Tetraphase, the Proxy Statement fails to disclose: (i) the financial metric that exit multiples of



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2.25x to 2.75x were applied to in order to derive the terminal values and quantification of the

metric; (ii) quantification of the terminal values of Tetraphase; (iii) quantification of the inputs and

assumptions underlying the discount rates ranging from 17.6% to 21.6%; and (iv) the net debt or

net cash utilized in the analysis.

        36.     With respect to Janney’s Analysis of Implied Pro Forma Equity Value Impact to

Tetraphase, the Proxy Statement fails to disclose: (i) the financial metric that exit multiples of

2.25x to 2.75x were applied to in order to derive the terminal values and quantification of the

metric; (ii) quantification of the terminal values of the combined pro forma company; (iii)

quantification of the inputs and assumptions underlying the discount rates ranging from 14.7% to

18.7%; and (iv) the net debt or net cash of the combined pro forma entity utilized in the analysis.

        37.     With respect to Janney’s Premiums Paid Analysis, the Proxy Statement fails to

disclose: (i) the transactions observed by Janney; and (ii) the premiums paid in each of those

transactions.

        38.     Without such undisclosed information, Tetraphase stockholders cannot evaluate for

themselves whether the financial analyses performed by Janney were based on reliable inputs and

assumptions or whether they were prepared with an eye toward ensuring that a positive fairness

opinion could be rendered in connection with the Proposed Transaction. In other words, full

disclosure of the omissions identified above is required in order to ensure that stockholders can

fully evaluate the extent to which Janney’s opinion and analyses should factor into their decision

whether to vote in favor of or against the Proposed Transaction or seek appraisal.

        39.     The omission of this material information renders the statements in the “Certain

Information Provided by the Parties” and “Opinion of Janney Montgomery Scott LLC,




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Tetraphase’s Financial Advisor” sections of the Proxy Statement false and/or materially

misleading in contravention of the Exchange Act

Material Omissions Concerning the Background of the Proposed Transaction

       40.     The Proxy Statement fails to disclose material information concerning the

background process leading to the Proposed Transaction.

       41.     For example, the Proxy Statement sets forth that:

       On or about August 2, 2019, . . . following the execution of a confidentiality
       agreement with the applicable party, Tetraphase provided access to a data room to
       representatives of Company B, Company C, Company F, Company G and
       Company I as well as companies that are referred to as Company K and Company
       L.

Proxy Statement at 50. The Proxy Statement further states that, “[o]n December 30, 2019,

Company P executed a confidentiality agreement with Tetraphase and representatives of Company

P and Armistice Capital . . . .” Id. at 54. In addition, the Company entered into a confidentiality

agreement with a potential investor on October 2, 2019 and with several third-party lenders

between October and December 2019. Id. at 51, 53. The Proxy Statement, however, fails to

disclose whether the confidentiality agreements include a “don’t-ask, don’t-waive” (“DADW”)

standstill provision that is presently precluding potential acquirers from submitting a topping bid

for the Company.

       42.     The failure to disclose the existence of DADW provisions creates the false

impression that a potential bidder who entered into a confidentiality agreement could make a

superior proposal for the Company. If the potential acquirer’s confidentiality agreement contains

a DADW provision, then that potential bidder can only make a superior proposal by (i) breaching

the confidentiality agreement—since in order to make the superior proposal, it would have to ask




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for a waiver, either directly or indirectly; or by (ii) being released from the agreement, which if

action has been done, is omitted from the Proxy Statement.

       43.      Any reasonable Tetraphase stockholder would deem the fact that the most likely

topping bidders for the Company may be precluded from making a topping bid for the Company

to significantly alter the total mix of information.

       44.      The omission of this information renders the statements in the “Background of the

Merger” section of the Proxy Statement false and/or materially misleading in contravention of the

Exchange Act.

Material Omissions Concerning Tetraphase’s Financial Advisors’ and Company Insiders’
Potential Conflicts of Interest

       45.      The Proxy Statement fails to disclose material information concerning the conflicts

of interest faced by Janney.

       46.      The Proxy Statement sets forth that:

       Pursuant to the terms of the engagement letters between Janney and the Tetraphase
       Board and between Janney and the management of Tetraphase, Tetraphase agreed
       to pay to Janney a retainer fee upon signing of the fairness opinion engagement
       letter, a fee upon Janney’s delivery of its Opinion, and a fee upon the consummation
       of the Merger in consideration of financial advisory services rendered in connection
       with the Merger, for an aggregate amount of fees of approximately $600,000.
       Approximately half of the amount of the total fees are contingent upon the
       successful completion of the Merger. The fee for rendering the Opinion is not
       contingent on the successful completion of the Merger or the conclusions expressed
       therein.

Id. at 75-76. The Proxy Statement fails, however, to disclose and quantify the portion of Janney’s

fee payable upon each of: (i) signing of the fairness opinion engagement letter; (ii) delivery of

Janney’s fairness opinion; and (iii) consummation of the Proposed Transaction. The Proxy

Statement further fails to quantify the amount of Janney’s fee that is contingent upon

consummation of the Proposed Transaction. The Proxy Statement further fails to disclose the

details of any services provided to the Company’s largest stockholder, Armistice, in the two years



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prior to the date of its fairness opinion, and any fees received for services provided.

        47.     Moreover, the Proxy Statement fails to disclose the details of the Company’s

engagement of the other financial advisors retained in connection with the sales process, referred

to in the Proxy Statement as “Financial Advisor A,” “Financial Advisor B,” and “Financial

Advisor C,” including (i) the identities thereof; (iii) the details of the fees paid; and (iii) the details

of any services provided by the respective financial advisors to the Company, AcelRx or Armistice

in the prior two years, and any fees received for services provided.

        48.     Full disclosure of investment banker compensation and all potential conflicts is

required due to the central role played by investment banks in the evaluation, exploration,

selection, and implementation of strategic alternatives.

        49.     The Proxy Statement also fails to disclose material information concerning the

potential conflicts of interest faced by Company insiders.

        50.     For example, according to the Proxy Statement, “AcelRx and Tetraphase have

commenced an integration planning process to determine the employment status of Tetraphase’s

executive officers following the Effective Time. Additional decisions regarding these individuals

are expected to be made closer to, or after, the closing of the Merger.” Id. at 84.            The Proxy

Statement, however, fails to disclose the details of any employment and retention-related

discussions and negotiations that occurred between AcelRx and Tetraphase executive officers and

directors, including who participated in all such communications, when they occurred and their

content. The Proxy Statement further fails to disclose whether any of AcelRx’s proposals or

indications of interest mentioned management retention.

        51.     Communications regarding post-transaction employment and merger-related

benefits during the negotiation of the underlying transaction must be disclosed to stockholders.




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This information is necessary for Tetraphase’s stockholders to understand potential conflicts of

interest of management and the Board, as that information provides illumination concerning

motivations that would prevent fiduciaries from acting solely in the best interests of the Company’s

stockholders.

       52.      The omission of this material information renders the statements in the “Opinion of

Janney Montgomery Scott LLC, Tetraphase’s Financial Advisor,” “Background of the Merger,”

and “Equity Awards Held by Tetraphase Directors and Executive Officers” sections of the Proxy

Statement false and/or materially misleading in contravention of the Exchange Act.

       53.      The Individual Defendants were aware of their duty to disclose the above-

referenced omitted information and acted negligently (if not deliberately) in failing to include this

information in the Proxy Statement. Absent disclosure of the foregoing material information prior

to the stockholder vote on the Proposed Transaction, Plaintiff and the other stockholders of

Tetraphase will be unable to make an informed voting or appraisal decision in connection with the

Proposed Transaction and are thus threatened with irreparable harm warranting the injunctive

relief sought herein.

                                      CLAIMS FOR RELIEF

                                               COUNT I

             Claims Against All Defendants for Violations of Section 14(a) of the
                  Exchange Act and Rule 14a-9 Promulgated Thereunder

       54.      Plaintiff repeats all previous allegations as if set forth in full.

       55.      During the relevant period, defendants disseminated the false and misleading Proxy

Statement specified above, which failed to disclose material facts necessary to make the

statements, in light of the circumstances under which they were made, not misleading in violation

of Section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.




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       56.     By virtue of their positions within the Company, the defendants were aware of this

information and of their duty to disclose this information in the Proxy Statement. The Proxy

Statement was prepared, reviewed, and/or disseminated by the defendants. It misrepresented

and/or omitted material facts, including material information about (i) Company and AcelRx

management’s financial projections and the data and inputs underlying the financial valuation

analyses that support the fairness opinion provided by the Board’s financial advisor, Janney; (ii)

the background of the Proposed Transaction; and (iii) Tetraphase’s financial advisors’ and

Company insiders’ potential conflicts of interest. The defendants were at least negligent in filing

the Proxy Statement with these materially false and misleading statements.

       57.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder would consider them important in deciding how to vote

on the Proposed Transaction or whether to seek to exercise their appraisal rights.

       58.     By reason of the foregoing, the defendants have violated Section 14(a) of the

Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

       59.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is

threatened with irreparable harm, rendering money damages inadequate. Therefore, injunctive

relief is appropriate to ensure defendants’ misconduct is corrected.

                                             COUNT II

                   Claims Against the Individual Defendants for Violations
                            of Section 20(a) of the Exchange Act

       60.     Plaintiff repeats all previous allegations as if set forth in full.

       61.     The Individual Defendants acted as controlling persons of Tetraphase within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Tetraphase, and participation in and/or awareness of the Company’s




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operations and/or intimate knowledge of the false statements contained in the Proxy Statement

filed with the SEC, they had the power to influence and control and did influence and control,

directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiff contends are false and misleading.

       62.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       63.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

as alleged herein, and exercised the same. The Proxy Statement at issue contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were, thus, directly involved in the making of the Proxy Statement.

       64.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were each involved in negotiating, reviewing, and approving the Proposed

Transaction. The Proxy Statement purports to describe the various issues and information that

they reviewed and considered—descriptions the Company directors had input into.

       65.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       66.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and SEC Rule 14a-

9, promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their




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positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of defendants’ conduct, Tetraphase stockholders

will be irreparably harmed.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in his favor on behalf of Tetraphase, and against defendants, as follows:

       A.       Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction and

any vote on the Proposed Transaction, unless and until defendants disclose and disseminate the

material information identified above to Tetraphase stockholders;

       B.       In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages to Plaintiff;

       C.       Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,

as well as SEC Rule 14a-9 promulgated thereunder;

       D.       Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.       Granting such other and further relief as this Court may deem just and proper.




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                                      JURY DEMAND

     Plaintiff demands a trial by jury.



Dated: April 29, 2020                              WEISSLAW LLP


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